                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

        V.                                                   Case No. 19-CR-119

ANDY LLOYD HUEBSCHMANN,

                               Defendant.



                                      PLEA AGREEMENT


      1.         The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Rebecca Taibleson, Assistant United

States Attorney, and the defendant, Andy Lloyd Huebschmann, individually and by attorney

Michael Steinle, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the

following plea agreement:

                                            CHARGES

      2.         The defendant has been charged in a one-count information, which alleges a

violation of the Arms Export Control Act, Title 22, United States Code, Sections 2778(b)(2) and

2778(c), and Title 22, Code of Federal Regulations, Sections 121.1, 123.1, and 127.1.

      3.        The defendant has read and fully understands the charge contained in the

information. He fully understands the nature and elements of the crime with which he has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to him by his attorney.




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         4.        The defendant voluntarily agrees to waive prosecution by indictment in open

court.

         5.        The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

THE UNITED STATES ATTORNEY CHARGES THAT:

          In or about March of 2015, in the State and Eastern District of Wisconsin and elsewhere,

                                  ANDY LLOYD HUEBSCHMA1VN

knowingly and willfully exported and caused to be exported from the United States to Australia

defense articles, that is, a rifle kit including a Model GA 9mm lower receiver, upper receiver,

barrel, trigger control group, bolt carrier, and pistol grip, which were and are designated as

defense articles on the United States Munitions List, without having first obtainedfrom the

Department of State a license for such export or written authorization for such export.

         In violation of Title 22, United States Code, Sections 27780)(2) and 2778(c), and Title

22, Code of Federal Regulations, Sections 121.1, 123.1, and 1273.


         6.      The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 5. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a

reasonable doubt. The defendant admits that these facts are true and correct and establish his

guilt beyond a reasonable doubt:

              a. Until 2016, and at all times relevant here, Andy Huebschmann was the proprietor
                 of firearm manufacturing companies Thureon Defense, LLC, and Sunny Hill
                 Enterprises, LLC, in New Holstein, Wisconsin. Huebschmann was the holder of a
                 Federal Firearms License and was licensed to manufacture and deal firearms.
              b. In approximately 2012 or 2013, Huebschmann met an Australian criminal and
                 gun enthusiast named Paul Munro at the Shooting, Hunting, and Outdoor Trade
                 Show in Las Vegas, Nevada, where Huebschmann was an exhibitor.

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            c. Between 2013 and 2016, Huebschmann manufactured numerous firearms and
               firearm parts for Munro and caused them to be exported to Australia. These
               exports included rifle kits, which contained the component parts for rifles that
               could function with either semi-automatic or fully automatic triggers, and 1911
               firearm frames that could be assembled into completed pistols. These items were
               and are all on the United States Munitions List, and a license or other written
               approval from the Department of State was required to lawfully export them from
               the United States. Huebschmann exported those items from the United States
               illegally, failing to obtain the required export licenses and repeatedly shipping
               guns in containers designed to hide the presence of firearms therein.
            d. In early 2015, for example, Munro asked Huebschmann for six rifle kits. The kits
               included a Model GA 9mm lower receiver, upper receiver, barrel, trigger control
               group, bolt carrier, and pistol grip, which were and are designated as defense
               articles on the United States Munitions List. These kits were identical to those
               Huebschmann had previously sold to Munro, except that in 2015 Huebschmann
               removed any "Thureon" markings from the rifle components. Huebschmann
               removed this branding at Munro's request, after Munro told Huebschmann that
               one of the guns had been "picked up" by law enforcement in Australia.
               Huebschmann manufactured these firearm components without any markings,
               including serial numbers.
            e. Munro, with assistance from others, constructed a shipping crate that had a secret
               compartment concealed in the floor and delivered the crate to Huebschmann at
               Thureon's office in Wisconsin. Huebschmann packed the crate with six rifle kits,
               as well as thirty 1911 slides and frames. In March of 2015, Huebschmann sent
               the crate to a freight forwarder in California, at Munro's instruction, aware that
               the crate was destined for Australia. Huebschmann knew he needed an export
               license for the shipment of firearms, but he did not apply for or obtain an export
               license for the shipment.
                Huebschmann was paid $1,000 for each rifle kit and a total of $2,000 for the 1911
                slides and frames he shipped in March of 2015.
            g. In 2016, Australian law enforcement recovered a Huebschmann-manufactured
               fully-automatic machine gun after it was used in a high-profile armed robbery.

       This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this offense.

                                            PENALTIES

      7.        The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum term of imprisonment and fine: 20 years




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and $1,000,000. The count of conviction also carries a mandatory special assessment of $100,

and a maximum of 3 years of supervised release,

                                           ELEMENTS

      8.       The parties understand and agree that in order to sustain the charge of violating

the Arms Export Control Act, as set forth in the information, the government must prove each of

the following propositions beyond a reasonable doubt:

       First, the defendant exported, attempted to export or caused to be exported from the
       United States a defense article listed on the U.S. Munitions List;

       Second, a license or other written approval was required from the Department of State to
       lawfully export the defense article;

       Third the defendant did not obtain a license or written approval for the export from the
       Department of State; and

       Fourth, the defendant did such acts willfully.

                                 SENTENCING PROVISIONS

      9.       The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      10.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      11.      The defendant acknowledges and agrees that his attorney has discussed the

potentially applicable sentencing guidelines provisions with him to the defendant's satisfaction.

      12.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

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parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.

                                Sentencing Guidelines Calculations

      13.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      14.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                       Base Offense Level

      15.      The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in the information is 26 under Sentencing Guidelines

Manual § 2M5.2(a)(1).

                                   Acceptance of Responsibility

      16.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the
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defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the

court determines at the time of sentencing that the defendant is entitled to the two-level reduction

under § 3E1.1(a), the government agrees to make a motion recommending an additional one-

level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant

timely notified authorities of his intention to enter a plea of guilty.

                                  Sentencing Recommendations

      17.       Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      18.       Both parties reserve the right to make any recommendation regarding any and all

factors pertinent to the determination of the sentencing guideline range; the fine to be imposed;

the length of supervised release and the terms and conditions of the release; the defendant's

custodial status pending the sentencing; and any other matters not specifically addressed by this

agreement.

      19.       Each party is free to recommend whatever sentence it considers to be appropriate.

                              Court's Determinations at Sentencing

      20.       The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the

imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 7 above. The parties further understand that the sentencing court



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will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      21.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      22.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

                                        Special Assessment

      23.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                Abandonment and Consent to Forfeiture of Certain Firearms

      24.      The defendant agrees to surrender and relinquish all rights, title, and interest in,

and all claims to, the four below-described firearms so that those four firearms may be

administratively forfeited or otherwise disposed of by the U.S. Department of Justice, Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF) in accordance with law:

                   •   Rifle, Thureon Defense LLC, Model GA, 9 mm, bearing serial number
                       BA 1892

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                       Pistol receiver/frame, Remsport MFG., caliber unknown, unserialized

                   •   Pistol, Iberia Firearms, model JCP, .40 caliber, bearing serial number
                       X7240800

                       Pistol, Armscor of the Philippines, model 1911A1, 9mm, bearing serial
                       number RIA1618839

The defendant understands and agrees that the government may forfeit each of the above four

firearms via federal administrative or judicial forfeiture process or may otherwise dispose of

those four firearms in accordance with law, including destroying those four firearms as

abandoned property or as contraband material. The defendant consents to any such actions as to

each of these four firearms. If the government chooses to forfeit the four firearms,

administratively or judicially, the defendant waives any time limits applicable to the forfeiture of

the firearms as well as any right he has to further notice of forfeiture, including any rights to

notice under Title 18, United States Code, Section 983, and Title 19, United States Code, Section

1607. The defendant agrees to take all steps as requested by the government to complete his

abandonment and to facilitate the forfeiture of the firearms, including completing an ATF Form

3400.1 as to all four firearms. The defendant acknowledges that an ATF Form 3400.1 has been

provided to his counsel for that purpose and the defendant agrees to complete that form as to all

four firearms before sentencing.


                               DEFENDANT'S COOPERATION

      25.      The defendant, by entering into this agreement, further agrees to fully and

completely cooperate with the government in its investigation of this and related matters, and to

testify truthfully and completely before the grand jury and at any subsequent trials or

proceedings, if asked to do so. The government agrees to advise the sentencing judge of the

nature and extent of the defendant's cooperation. The parties acknowledge, understand and agree


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that if the defendant provides substantial assistance to the government in the investigation or

prosecution of others, the government, in its discretion, may recommend a downward departure

from: (a) the applicable sentencing guideline range; (b) any applicable statutory mandatory

minimum; or (c) both. The defendant acknowledges and understands that the court will make its

own determination regarding the appropriateness and extent to which such cooperation should

affect the sentence.

                            DEFENDANT'S WAIVER OF RIGHTS

      26.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                    selected at random. The defendant and his attorney would have a say in who
                    the jurors would be by removing prospective jurors for cause where actual
                    bias or other disqualification is shown, or without cause by exercising
                    peremptory challenges. The jury would have to agree unanimously before it
                    could return a verdict of guilty. The court would instruct the jury that the
                    defendant is presumed innocent until such time, if ever, as the government
                    establishes guilt by competent evidence to the satisfaction of the jury beyond a
                    reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts
                    and determine, after hearing all of the evidence, whether or not he was
                    persuaded of defendant's guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
                    relying to obtain a conviction and he would have the right to cross-examine
                    those witnesses. In turn the defendant could, but is not obligated to, present
                    witnesses and other evidence on his own behalf. The defendant would be


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                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that he could decline to testify and no inference of guilt could be drawn from
                     his refusal to testify. If defendant desired to do so, he could testify on his own
                     behalf.

      27.         The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      28.         The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess firearms,

and to be employed by a federally insured financial institution.

      29.         The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

      30.         Based on the government's concessions in this agreement, the defendant

knowingly and voluntarily waives his right to appeal his conviction or sentence in this case and

further waives his right to challenge his conviction or sentence in any post-conviction

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proceeding, including but not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this

paragraph, the term "sentence" means any term of imprisonment, term of supervised release,

term of probation, supervised release condition, fine, forfeiture order, and restitution order. The

defendant's waiver of appeal and post-conviction challenges includes the waiver of any claim

that (1) the statutes or Sentencing Guidelines under which the defendant is convicted or

sentenced are unconstitutional, and (2) the conduct to which the defendant has admitted does not

fall within the scope of the statutes or Sentencing Guidelines. This waiver does not extend to an

appeal or post-conviction motion based on (1) any punishment in excess of the statutory

maximum, (2) the sentencing court's reliance on any constitutionally impermissible factor, such

as race, religion, or sex, (3) ineffective assistance of counsel in connection with the negotiation

of the plea agreement or sentencing, or (4) a claim that the plea agreement was entered

involuntarily.

                             Further Civil or Administrative Action

      31.        The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                     GENERAL MATTERS

      32.        The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.
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      33.        The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      34.        The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

              EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      35.       The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

                        VOLUNTARINESS OF DEFENDANT'S PLEA

      36.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor



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agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.




                                             ANDY L YD HUEBSCHMANN
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date:
                                             MICHAEL S7INL
                                             Attorney for Defend nt


For the United States of America:




                                              ATTHEW D. K1UJEER
                                             United States Attorney



Date:   La
                                            REBECCA TAIBLESON
                                            Assistant United States Attorney




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